     Case 8:20-cv-00048-JVS-JDE Document 2026 Filed 07/15/24 Page 1 of 2 Page ID
                                     #:174124



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       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
15
                           IN THE UNITED STATES DISTRICT COURT
16                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
17
        MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
18      a Delaware corporation; and            )
        CERCACOR LABORATORIES, INC.,           ) MASIMO’S NOTICE OF MOOTED
19      a Delaware corporation                 ) ISSUE IN CLAIM CONSTRUCTION
                                               )
20                  Plaintiffs,                ) BRIEFING
                                               )
21            v.                               ) Hon. James V. Selna
                                               )
22      APPLE INC., a California corporation   )
                                               )
23                  Defendant.                 )
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     Case 8:20-cv-00048-JVS-JDE Document 2026 Filed 07/15/24 Page 2 of 2 Page ID
                                     #:174125



1            Masimo hereby provides notice that it has narrowed the asserted claims in a
2      manner that moots one issue in the parties’ Claim Construction briefs. In particular,
3      Apple asserted the term “relatively small amount of power / relatively large amount of
4      power” is indefinite. Dkt. 1947 (Joint Claim Construction Prehearing Statement) at 4.
5      Those terms appear only in Claim 5 of the ’776 Patent. Id. Masimo is no longer
6      asserting Claim 5 of the ’776 Patent and Apple has no declaration judgment
7      counterclaims in this case. See Dkt. 370 (Apple’s Amended Answer).
8            Accordingly, the parties’ dispute regarding the term “relatively small amount of
9      power / relatively large amount of power” is now moot.
10
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12
        Dated: July 15, 2024                     By: /s/ Adam B. Powell
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